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February 17, 2010

Judge Ann Aiken
Wayne L. Morse US Courthouse
405 E. 8th Ave., Suite 2100
Eugene, OR 97401

Re:                         Eric L. Asplind v. Asset Acceptance, LLC
Case No:                    6:09-CV-6287-AA

Dear Judge Aiken,

This letter is to inform the court that the above captioned case has settled. I believe a 60-day
order of dismissal should be sufficient for the parties to finalize the matter. If you have any
questions or concerns please feel free to contact me.

Sincerely,

/s/ Keith D. Karnes

Keith D. Karnes
Attorney At Law

KDK:az

cc: Jeffery Hasson, Attorney for Defendant (via ECF)
